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                     IN THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION

KELLY MCNEAL, ET. AL                                                         PLAINTIFFS

VS.                                                                  CAUSE NO. DC7029-S

TATE COUNTY SCHOOL DISTRICT, ET. AL                                          DEFENDANTS

      TATE COUNTY SCHOOL DISTRICT’S MOTION FOR EXPEDITED REVIEW

       COMES NOW, the Defendant TATE COUNTY SCHOOL DISTRICT (hereinafter “the

District”), and files this, its Motion for Expedited Review, and, in support thereof, would show

unto this Court as follows:

       1.      On April 1, 2016, Tate County filed its Motion to Alter Attendance Zones Lines.

       2.      No response was received by any party until May 2, 2016 when attorney

Solomon C. Osborne, Sr. asked for more time to make a response. Mr. Osborne filed his motion

on behalf of Jessie Edwards and other unnamed parties.

       3.      The District’s request is to alter attendance zone lines for the coming 2016-2017

school year.

       4.      As such, time is of the essence in this matter as plans for students and teachers

must be made as soon as possible for the coming 2016-2017 school term.

       5.      These plans necessarily hinge on this Court’s decision in this matter.

       6.      For these reasons, it is respectfully requested that this Court engage in an

expedited review of this case.
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                                             Respectfully submitted,
                                             JACKS GRIFFITH LUCIANO, P.A.

                                             By:   /s/ Jamie F. Jacks
                                                     JAMIE F. JACKS, MS Bar #101881
                                                     P. O. Box 1209
                                                     Cleveland, Mississippi 38732
                                                     Telephone: 662-843-6171

                                CERTIFICATE OF SERVICE

        I, Jamie F. Jacks, attorney for Defendant Tate County School District, do hereby certify
that I have this day caused a true and correct copy of the above and foregoing TATE COUNTY
SCHOOL DISTRICT’S MOTION FOR EXPEDITED REVIEW to be delivered by ECF filing
system to all counsel of record who have entered their appearance in this action, as well as
mailing by U.S. mail, postage prepaid, a true and correct copy to the following:

       Honorable Minnie P. Howard
       North Mississippi Rural Legal Service
       P. O. Box 928
       Oxford, MS 38655-0928

               This, the 11th day of May, 2016.


                                              /s/ Jamie F. Jacks
                                             JAMIE F. JACKS
